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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                   MDL No. 2545
THERAPY PRODUCTS LIABILITY LITIGATION
                                                  Master Docket Case No. 1:14-cv-1748

                                                  Honorable Matthew F. Kennelly


THIS DOCUMENT APPLIES TO:
ELMON BURTON AND ELLEN BURTON, 14-CV-
8739


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that all of Plaintiff Ellen Burton’s

claims be dismissed with prejudice. Plaintiff Elmon Burton’s claims will remain.



Dated: May 14, 2019

Respectfully Submitted,



/s/ Brendan A. Smith___________                    /s/ Pamela Joan Yates__________
Brendan A. Smith                                   Pamela Joan Yates
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     Case: 1:14-cv-08739 Document #: 15 Filed: 05/14/19 Page 2 of 2 PageID #:97



                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 14, 2019, the foregoing document was electronically filed

with the Clerk of Court using the CM/ECF system which will automatically serve and send

notice of the electronic filing to all registered attorneys of record.



                                                        /s/ Brendan A. Smith
